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Attorneys  for  Defendant  
Original  Doggear,  ApS  
  
  
  
                          IN  THE  UNITED  STATES  DISTRICT  COURT  
                                                      
                           FOR  THE  DISTRICT  COURT  OF  OREGON  
                                                      
                                       EUGENE  DIVISION  
                                                      
                                                         
   RUFF  WEAR,  INC.,  an  Oregon  corporation,  
                                                             Case  No.  6:14-­‐‑cv-­‐‑00376-­‐‑MC  
                                                   
                                 Plaintiff,        
                                                             DEFENDANT  ORIGINAL  DOGGEAR,  
         v.                                                  ApS’  MOTION  TO  QUASH  SERVICE  
                                                             OF  PROCESS  AND  DISMISS  THE  
   ORIGINAL  DOG  GEAR,  ApS                                 COMPLAINT  FOR  LACK  OF  
                                                             PERSONAL  JURISDICTION  
                                 Defendant.                    
                                                             Pursuant  to  Fed.R.Civ.P.  12(b)  
                                                            


  
                                         LR  7-­‐‑1  CERTIFICATION  
           Counsel  for  defendant  Original  Doggear,  ApS  (“Original  Doggear”  and  “Defendant”),  
erroneously   sued   as   Original   Dog   Gear   ApS,   conferred   with   Plaintiff’s   counsel   through  
telephone  conference  prior  to  filing  this  motion.    The  parties  have  not  been  able  to  resolve  the  
issue.  
  
  

           NOTICE  OF  MOTION  
                                                                               LU NS FO RD LEG A L G R OU P
             Page  1                                                           980 NINTH STREET, 16TH   FLOOR
           	                                                                     SACRAMENTO, CA 95814
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                                                    MOTION  1  
        Pursuant  to  Fed.  R.  Civ.  P.  12(b)(4)  and  (5),  Original  Doggear  hereby  moves  the  Court  
for   an   Order   quashing   service   of   process   and   dismissing   the   Complaint.      This   motion   is  
supported  by  the  pleadings  in  this  case  and  Original  Doggear’s  accompanying  memorandum  
of  points  and  authorities.  
                                                    MOTION  2  
        Pursuant   to   Fed.   R.   Civ.   P.   12(b)(2),   Original   Doggear   hereby   moves   the   Court   for   an  
Order   dismissing   the   Complaint   with   prejudice   due   to   lack   of   personal   jurisdiction.      This  
motion   is   supported   by   the   pleadings   in   this   case   and   Original   Doggear’s   accompanying  
memorandum  of  points  and  authorities.  
  
  
                                                                        LUNSFORD  LEGAL  GROUP  
                                                              
                                                              
                                                                 By:            /s/  Loren  L.  Lunsford              
                                                                                  LOREN  L.  LUNSFORD  
                                                                                  Attorneys  for  Defendant  
                                                                                   Original  Doggear,  ApS  
                                                              
  




        NOTICE  OF  MOTION  
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